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IZ. ATTORNEY'S NAME First Name, M.l., Laiit Nome,i'ncluding any sni’lix) 13. COURT ORDER
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Gel‘aid, L€C L__] F S\ahs For Federail)efonder ij ll Subr For d Attorney (”'
8 South Third Street m P Subs For PaoelAtiorney l:\ Y StantlbyC ;;~
4th Floo]- Prior Anorney’s Name: é § \'.-‘
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M€l'l'lpi'il$ TN 38103 Appointment Dale: _______ 3 *;;,

\:l Because the above-named person represented has testilled under oath w ,.
otherwise satisfied this court that he or she (l] is financially unable lo emplo Mnsgl__a,od

T¢|¢phon¢ Numh¢r; (2) does got wish to waive counsel, - ~ » . ause the interests of}ustice se require air -_ ‘
. ppi;inted to represent this person l€i;liq'la§,e¢

    
      

 

     
 

attorney while name o~ ~~ sin li
14. NAME AND MAlLlNC ADDR.ESS OF LAW FlRM (only provide per instructions) \
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lF OTHER THAN CASE COMPLET]ON
FROM ____,____,_,_,_,_ TO
22. CLAlM STATUS ij Finol Payment ij lnterim l'oymem Numher _ I] Supp|emental Paymem
Have you previously applied to the court fir compensation and.'or remimhursement for this case'.’ l:l YES i:\ NO lfyex, were you paid'.’ l;l YES i:\ NO
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UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 29 in
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Honorable J. Breen
US DISTRICT COURT

